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          In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1267V
                                       Filed: July 12, 2019
                                         UNPUBLISHED


    RYAN BRONSON,

                          Petitioner,                         Special Processing Unit (SPU);
    v.                                                        Ruling on Entitlement; Concession;
                                                              Table Injury; Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH                                       Guillain-Barre Syndrome (GBS)
    AND HUMAN SERVICES,

                         Respondent.


Tonya Anne Oliver, Bichler, Oliver, Longo & Fox PLLC, Tampa, FL, for petitioner.
Lisa Ann Watts, U.S. Department of Justice, Washington, DC, for respondent.

                                     RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

        On August 22, 2018, Ryan Bronson (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that he developed Guillain-Barré syndrome
(“GBS”) as a result of an influenza (“flu”) vaccine he received on October 15, 2015.
Petition at ¶¶1-21. The case was assigned to the Special Processing Unit of the Office
of Special Masters.

        On July 10, 2019, respondent filed his Rule 4(c) report in which he concedes that
petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, respondent states “that petitioner has satisfied the criteria set forth in the

1
 The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).
2
    National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.

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recently revised Vaccine Injury Table (‘Table’) and the Qualifications and Aids to
Interpretation (‘QAI’), which afford petitioner a presumption of causation if: the diagnosis
of GBS is sound; the onset of GBS occurs between three and forty-two days after a
seasonal flu vaccination; and, there is no identified more likely alternative diagnosis.”
Id. at 3. Respondent further agrees that petitioner suffered the residual effects of his
GBS for more than six months and therefore, petitioner has satisfied all legal
prerequisites for compensation under the Act. Id.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master




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